Case 2:04-CV-02034-SHI\/|-tmp Document 31 Filed 04/21/05 Page 1 of 3 Page|D 45

 

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HY NEEDS and sTEVE NEEDS, VVD,OFTN M&MP§B
Plaintiffs,
v. Case No. 04-2034-Ma

cREATrvE RESTAURANTS, INC.,
d/b/a cREATIvE RESTAURANT
sERvIcEs/RUM BooGIE cAFE, INC.,

Defendant.

 

ORDER ON JURY VERDICT

 

This action came on for trial before the Court and a jury on
April 18, 2005, the Honorable Samuel H. Mays, Jr., U.S. District
Judge, presiding.

The plaintiffs were represented by counsel, Mr. Rory Jones and
Mr. Michael Whitaker. The defendant was represented by counsel,
Mr. Joseph Clark and Mr. Matthew Hardin.

After hearing all proof presented, arguments of counsel and
jury charge, the jury' began deliberations on April 20, 2005.
Thereafter, the jury returned into open court on April 20, 2005 and
announced the following verdict:

l. That defendant Rum Boogie Café was negligent and that

said negligence was a legal cause of Plaintiff Kathy

Needs' claimed injuries and losses.

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2. That plaintiff Kathy Needs was negligent and that said
negligence was a legal cause of Plaintiff Kathy Needs'
claimed injuries and losses.

3. That the percentage of fault attributed was thirty-five
(35%) percent as to plaintiff Kathy Needs and sixty-five
(65%) percent as to defendant Rum Boogie Café.

4. That the amount of damages sustained by plaintiff Kathy
Needs is $18,000.00 and the amount of damages sustained
by plaintiff Steve Needs is Zero.

The jurors were polled individually and discharged.

The Court will not enter a final judgment in this case until

all issues are resolved.

hzifj: day Of April, 2005_

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

ENTERED this

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
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Honorable Samuel Mays
US DISTRICT COURT

